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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

UNITED STATES OF AMERICA               )
                                       )   No. 18-CR-185
      v.                               )
                                       )   Hon. Gary Feinerman
TOBIAS DIGGS                           )

                            NOTICE OF APPEAL

      Notice is hereby given that TOBIAS DIGGS, the above-named

defendant, hereby appeals to the United States Court of Appeals for the

Seventh Circuit from the final judgment entered in this action on the 10th day

of March, 2022.


      DATED:      March 24, 2022



                                     Respectfully Submitted,

                                     /s/ Douglas E. Whitney
                                     Douglas E. Whitney
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                                     Attorney for Defendant
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                        CERTIFICATE OF SERVICE

      I hereby certify that on March 24, 2022, in accordance with LR5.9 and

Fed. R. Crim. P. 49(e), I electronically filed the foregoing NOTICE OF APPEAL

with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing all counsel of record at their e-mail addresses on file

with the Court.

                                            /s/ Douglas E. Whitney
                                            Douglas E. Whitney




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